        Case 8:06-cr-00483-SDM-TBM Document 357 Filed 08/16/07 Page 1 of 6 PageID 798
A0 245B (Rev 06/05) Sheer 1 - Judgment in a Crirninal Case



                                 UNITED STA TES DISTRICT COURT
                                                             MIDDLE DISTRICT OF FLORIDA
                                                                  TAMPA DIVISION



UNITED STrZTES OF AMERICA                                             JUDGILIENT IN A CRIMINAL CASE

                                                                      CASE NUMBER:       8:06-cr-483-T-23TBM
                                                                      USM NUMBER:        49163-018




                                                                      Defendant's Attorney: I-Iosey Hernandez, ret

THE DEFENDANT:

X       pleaded guilty to count ONE ol' Indictment.


TITLE & SECTION                           NATURE OF OFFENSE                            OFFENSE ENDED                          COUNT

21 U.S.C. $$ 846 and                      Conspiracy to Manufacture, Distribute,       November 7, 2006                       ONE
83 1 (b)( l)(A)(vii)                      and Possess With Intent to Manufacture
                                          100 or More Marijuana Plants

The defe~lclantis sentenced as provicled in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.


IT IS FURTHER ORDERED that the defendant must notify the Unitcd States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid.

I f ordered to pay restitution, the defendant most notify the court and United States Attorney of any material change in economic
ciscurnstances.


                                                                                       Date of Imposition of Sentence: August 14. 3,007




                                                                                                                --- - -   -

                                                                                                                                      1
                                                                                            STEVEN D. MERRYDAY
                                                                                       UNITED STATES DISTRICT JUDGE

                                                                                       DATE: August              2007
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A 0 245B (Rev 06i05) Sheer 2 - Imprisonment (Judgiilenr in a Criminal Case)
Defendant:           VIOLETA DeCASTRO                                                               Judgment - Page 2 of 6
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The defendant is hereby conmitted to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
THIRTY-SEVEN (37) RIONTHS.




 X The court makes the following reco~nmendationsto the Bureau of Prisons: (1) confinement at FCI Miami, FL and (2)
participation in the 500-Hour Comprehensive Drug Treatment Program



X The defendant is             to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.

           - at - a.m.1p.m. on -.
           - as notified by the United States Marshal.

- Thu defendant shall surrender for service of sentence ar the institution designated by the Bureau of Prisons.
           - before 2 p.m. on     -.
           - as notified by the United States Marshal.
           - as notified by the Probation or. Pretrial Services Office.




                                                                          RETURN

           I have executed this judgment as follows:




           Defendant delivered on                                                   to

- ar                                                                                , with a certified copy of this judgment.


                                                                                           United Sra.tes Marshal

                                                                              By:
                                                                                           Deputy United States klarshal
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A0 245B (Rev. 06/U5) Slleer 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:            VIOLETA DeCASTRO                                                                    Judgment - Page 3 of 6
Case No. :            8:06-cr-483-T-23TBM
                                                              SUPERVISED RELEASE

Upon release from inlprisonment, the dekndant shall be on supervised release for a term of' FORTY-EIGHT (48) MONTHS.

The defendant nlust report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit anothcr I'ederal, slate, or local crime, and shall not possess a firearm,
amnunition, or destructive device as defined in 18 U.S.C. 5 921.

X          The defendant shall not illegally possess a controlled subslance. The defendant shall refrain from any unlawful use of a
           controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
           aurhorizes random drug testing not to exceed 104 tests per year.

-
X          The defendant shall cooperate in the collectio~lof D N A as directed by the probation officer.

If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                              STANDARD CONDITIONS OF SUPERVISION
        the dcfcndant shall not leavc the judicial district without the pcrniission of the court or probation officer;

        the dcfcndant shall report to the probation officer and shall submit a truthful and complete written report within thc first five days of each
        month;

        the dcfendant shall answer t ~ ~ ~ t h f uall
                                                   l l yinquiries by the probation offices and follo\v the instr~~ctions
                                                                                                                      of the probation officer;

        the dcfendant shall support his or her dependents and meet othcr family responsibilities;

        the dcfendant shall work regularly at a lawful occupation, unless excused by the probation officcr for schooling, training, or othcr acceptable
        reasons:

        the dcl'endsnt shall notify the probation officer at least ten days prior to any change in residence or eniploytiicnt;

        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
        substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

        the dcfendunt shall not frequent placus wherc controlled substances arc illegally sold, uscd, distributed, or administered;

        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
        unless granted permission to do so by the probation officer;

        the defendant shall permit a probation officer to visit him or her at any time at home or clsewhcre and shall perniit confiscation of any
        contraband observed in plain view of the probation officer;

        the dcfcndant shall notify the probation officcr within seventy-two hours of being arrested or questioned by a law enforccment officer;

        the defendant shall not enter into any agreement to act as an informcr or a special agent of a law enforcement agency without the penii~ssion
        of the court: and

        as directed by the probation officer, the defendant shall notify third part~esof risks t h ~ may
                                                                                                     t   be occasioned by thc defendant's cnrnind rccord
        or personal history or characteristics and shall pcmiit the probation officer to make such notifications and to confirm the defendant's
        conipliance with such notification rcquiremcnt.
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A0 245B (Rev. 06/05) Sheet 3C - Supervised Release (Judgment in a Criminal Case)

De fendant:          VIOLETA DeCASTRO                                                                  Judgment - Page 4 of -&
Case No. :           8 :06-cr-483-T-23TBM

                                              SPECIAL CONDITIONS OF SUPERVISION

          The defendant shall also comply with the following additional conditions of supervised release:


X
-          If the defendant is deported, she shall not re-enter the United States without the express permission of the appropriate
           governmental authority, currently the United States Department of Homeland Security.
        Case 8:06-cr-00483-SDM-TBM Document 357 Filed 08/16/07 Page 5 of 6 PageID 802
.A0 245B (Rev 061'05) Sheet 5 - Criminal Monetary Perlalties (Judgment in a Criminal Case)

Defendant:            VIOLETA DeCASTliO                                                                              Judgment - Page 5
                                                                                                                                     --   01' 6
Case No. :            8:06-cr-483-T-23TBM

                                                  CRIMINAL MONErL'ARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                 Assessment                                  Fiix                             Total Restitution

           Totals:               $100.00                                     $ waived                         $


           The determination of restitution is deferred until                    . An Armwded Judgr~zer~t
                                                                                                       ill n Crirninnl Case (A0 24%) will be
           entered after such delerminalion.
-          Thc defendant must make restitution (including coill~i~unity
                                                                     restitution) to the following payees in the amount listed
           below.
           If the defendant rnakcs a partial payment, each payee shall receive an approximately proportioned payment, unless
           specified otherwise in the priority order or percentage pa nlent colunln below. However. pursuant to 18 U.S.C.
           3664(i), all non-federal victims must be paid before the dnited States.


Name of Pavee                                          Total Loss*                       Restitution Ordered                  Priority or Percentage




                                 Totals:

 -           Restitution amount ordered pursuant to plea agreement $
 -          The defendant must pay interest on a fine or restitu~ionof more than $2,500. unless the restitution or fine is paid in full
            before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1-').All of the payment options on Sheet
            6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).
 -          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           -          the interest requirement is waived for the - tine                      - restitution.
           -          [he interest requirement for the - fine - restitution is nlodified as follows:


* Findings for thc total amount of losses are required under Cha ters 109A: 110, 1 lOA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, 1 96.                d'
        Case 8:06-cr-00483-SDM-TBM Document 357 Filed 08/16/07 Page 6 of 6 PageID 803
.A0 Z45B (KCV(iO:(JS) Sheet 6 - Schedule d i Payments (Judgment in ;I Crim~nalCase)

Defendant:            VIOLETA DeCAS'TRO                                                              Judgment - Page 6of 6
Case No. :            8:06-cr-483-T-23TBM


                                                           SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.           X        Lunlp sum payment of $ 100.00 due immediately, balance due
                                  -not later than                          ,   or
                                  -in accorclance - C, - D- - E or - F below; or
B.         -          Payment to begin immediately (may be co~nbinedwith -C. -D, or -F below); or
C.         -          Payment in equal                 (e.g., weekly, monthly. quarterly) installments of S             over a
                      period of          (e.g., months or years), to commence              days (e.g.. 30 or 60 days) after the
                      date of this judgment; or
D.         -          Payment in equal                (e.g., weekly, monthly, quarterly) installments of $             over a
                      period of             , (e.g.. months or years) to colnmence                  (e.g. 30 or 60 days) after
                      release from imprisonment to a term of supervision; or
E.         -          Payment during the term of supervised release will conmence within                          (e.g., 30 or
                      60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                      the defendant's ability to pay at that time, or
r: .       -          Special insrruc tions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
 enalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
iureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-          Joint and Several
Defendant and Co-Defendant Names and Case Numbers (iocluding defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:


-          The defendant shall pay the cost of prosecution.
-          The defendant shall pay the following court cost(s):
-          The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) co~nmunityrestitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
